






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-07-00250-CV






In re Juan Enriquez






ORIGINAL PROCEEDING FROM TRAVIS COUNTY






M E M O R A N D U M   O P I N I O N




Juan Enriquez petitioned the Court for a writ of mandamus to compel the Judge of
the 345th District Court to act on Enriquez's motion for partial summary judgment in cause number
D-1-GN-06-001219, styled Enriquez v. Owens.  The Court asked for a response.  The Judge wrote
a letter to the Court stating that Enriquez has never requested a setting for his motion and that the
Judge has instructed the court administrator to contact Enriquez regarding a setting.  More generally,
the Judge assures the court that the district judges in Travis County have reviewed the practices and
procedures in the court administrator's office to assure that all pro se litigants, including those in
prison, are treated fairly.  Counsel for the real party in interest has also filed a response adopting the
Judge's response.

In light of this response, the petition for writ of mandamus is denied without prejudice
to Enriquez seeking relief at a later date.  See Tex. R. App. P. 52.8(a).


				___________________________________________

				Diane Henson, Justice

Before Chief Justice Law, Justices Waldrop and Henson

Filed:   August 15, 2007


